UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK -- ROCHESTER DIVISION


In Re: corl Duvall
       ConDuvall                                                          Chapter: 13          79-PRW

                     Debtor{s)


    Corl DuVall                                                           A.P. nq.: 2-19-02011-PRW
                     Plaintif{(s)
              V.


    Ontario County, New York; John Doe: Jane Doe
                     Defendant(s)


               CERTIFICATION AND REPORT OF RULE 26(f)FRCP/RULE 7026 FRBP
                                    CONFERENCE AND DISCOVERY PLAN

          Pleasefill in or check the appropriate blanks to certify completion ofthe Rule 7026 FRBP Attorney's
  Conference and provide the required information to the Court. Where the parties were unable to agree on a
  specificprovision or item,pleaseso note and attach any necessary explanation. Please note that this information
  will be used as a euideline bv the Judge, in conducting the Rule 16FRCP Conference.

  1. Certiflcafion Concerning Discovery Plan,(check one)

       ^ A discovery plan is needed or useful in this case and is outlined below.
            The parties caimot agree on a discovery plan. The attached sets forth the parties' disagreements and
            reasons for each party's position,(attach an explanation to this document)

  2. Certification of Conference. Pursuant to Rule 26(f)FRCP/Rule 7026 FRBP, a meeting was held on
     June 3, 2019                             (date) at                                                  (place)
  or by telephone[ ^ ](check ifapplicable) and was conducted by the undersigned counsel for the designated
  parties in this adversary proceeding.

  3. Pre-Dlscoverv Disclosures. The information required by Rule 26(a)(1) FRCP and Rule 7026 FRBP
     (check one)[ 1 has been exchanged;[ y/]will be exchanged by 6/30/2019                              (date).
  4. Discovery Plan. The partiesjointly propose to the Court the following discovery plan:
     a. All discovery will be completed by       9/30/2019                                          (date).
         [Ifapplicable] Discovery on


         (identify any issues requiring eariy discovery) will be completed by                            (date).


                                                   Page 1 of2
          Case 2-19-02011-PRW, Doc 9, Filed 06/14/19, Entered 06/14/19 15:35:29,
                           Description: Main Document , Page 1 of 2
Case 2-19-02011-PRW, Doc 9, Filed 06/14/19, Entered 06/14/19 15:35:29,
                 Description: Main Document , Page 2 of 2
